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             EXHIBIT G
                          Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 2 of 34
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   CMS
  CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                                Coordination of
                                                                                                           Benefits and Recovery




          September 22, 2017



                  195 4 AT 1.260
                  ***3-DIGIT 480 R:195 T:3 P:15 PC: 19 F:781202
                  FIEGER, FIEGER, KENNEY, GIROUX & DANZIG, P.C.
                   19390 W 10 MILE RD                                                      *COPY*
                  SOUTHFIELD, MI 48075-2458
                                                                                                For Information Only



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          September 22, 2017

                   195 4 AT 1.260
                   ***3-DIGIT 480 R:195 T:3 P:15 PC:19 F:781202
                   SOUTH LYON SENIOR CARE& REHAB CENTER
                   700 REYNOLD SWEET PKWY
                   SOUTH LYON, MI 48178-1816




           Beneficiary Name:                           MATTTLA, MILDA E
           Medicare ID:                                 384123594B
           Case Identification Number:                 20130 85090 00178
           Date of Incident:                           June 01, 2012


                       THIS IS NOT A BILL. DO NOT SEND PAYMENT AT THIS TIME.

           Subject: Beneficiary Conditional Payment Letter


           Dear SOUTH LYON SENIOR CARE& REHAB CENTER:


           If we know you have a representative for this matter, we are sending him/her a copy of this
           letter.          If you have any questions regarding this letter and are represented by an attorney or
           other individual in this matter, you may wish to talk to your representative before contacting
           us.




SPECIAL PROJECTS • PO BOX 138868 • OKLAHOMA CITY, OK 73113                                                   SGLLCPNGHP
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                                                       4F2017261000008093
                                                        "4F20 1726 1000008093*
                  Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 3 of 34
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    CMS
   CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                                          Coordination of
                                                                                                                     Benefits and Recovery




           This letter follows a previous letter notifying you/your attorney of Medicare's priority right of
           recovery as defined under the Medicare Secondary Payer provisions.                        Conditional Medicare
           payments for Medicare Part A and Part B Fee-for-Service claims have been made that we believe
           are related to your case for the Date of Incident listed above.                These conditional payments are
           subject to reimbursement to Medicare from proceeds you may receive pursuant to a settlement,
          judgment, award, or other payment.


           As of the date of this letter, and based upon the available information, Medicare has identified
           $367,828.72 in conditional payments that we believe are associated with your case. A listing of
           Part A and Part B Fee-for-Service claims that comprise this total is enclosed with this letter;
           please review this listing carefully and let us know as soon as possible if this list is incorrect or
           inaccurate.


           If you believe the enclosed itemization of conditional payments is incomplete, inaccurate, or that
           you are not responsible for repaying Medicare for these payments, please provide written
           documentation along with an explanation to support your dispute/rebuttal, to the address listed
           below.            Please include a description of the injury with your response.       The following is a list of
           documents (not all inclusive) that could assist in processing your dispute/rebuttal request:


                                    Statute of limitations submitted by the insurer
                                    Physicians statement or discharge summary
                                    Independent medical exams
                                    Medical records
                                    Written statement defining similar injuries or pre-existing conditions


           Please also be advised that we are still investigating this case file to obtain any other outstanding
           Medicare conditional payments; therefore, the enclosed listing of current conditional payments is
           not final. We request that you/your attorney refrain from sending any monies to Medicare prior
           to submission of settlement information and receipt of a demand/recovery calculation letter from
           our office. This will eliminate underpayments, overpayments, and/or associated delays. Once the
           case settles, please furnish our office with the information requested on the attached "Final
           Settlement Detail Document".


           We have posted                     this conditional payment information under the       "MyMSP" tab       of the
           www.mvmedicare.gov website. The information at www.mvmedicare. gov will be updated weekly
           with any changes or newly processed claims. If you wish, you may track the medical expenses
           that were paid by Medicare, and if you have an attorney or other representative, provide him/her
           with this information. This may help you with finalizing your settlement.




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   CMS
  CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                       Coordination of
                                                                                                  Benefits and Recovery




          If you have any questions concerning this matter, please contact the Benefits Coordination &
          Recovery Center (BCRC) by phone at 1-855-798-2627 (TTY/TDD: 1-855-797-2627 for the
          hearing and speech impaired), in writing at the address below, or by fax to 405-869-3309. When
          sending correspondence, please include the Beneficiary Name along with the Medicare ID and
          Case Identification Number (shown above).



          Sincerely,




          BCRC


          CC: FIEGER, FIEGER, KENNEY, GIROUX & DANZIG, P.C.


          Enclosures:                        Final Settlement Detail Document
                                             Payment Summary Form




                                                                          "1
                                                                                   - /: :




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SPECIAL PROJECTS • PO BOX 138868 • OKLAHOMA CITY, OK 73113                                          SGLLCPNGHP
                                                                                                        Page 3 of 33




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   CMS
  CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                           Coordination of
                                                                                                     Benefits and Recovery




          Final Settlement Detail Document

          Beneficiary Name:                  MATTILA, MILDA E
          Medicare ID:                       384123594B
          Date of Incident:                  June 01, 2012
          Case Identification Number: 20130 85090 00178


          Please supply the information outlined below to help Medicare to properly calculate the amount it
          is due. This information will also be used to update your records.


          Total Amount of the Settlement:

          Total Amount of Med-Pay or PIP:
           ** only ifpaid directly to the beneficiary
                 or the beneficiary's representative

          Attorney Fee Amount Paid by the Beneficiary:

          Additional Procurement Expenses Paid by the Beneficiary:
                (Please submit an itemized listing of these expenses)

          Date the Case Was Settled:                                                  /

           Description of Injuries:

           Name of person who is providing this information:

           Relationship with the Beneficiary:


           This information should be submitted to:

                                                   SPECIAL PROJECTS
                                                   PO BOX 138868
                                                   OKLAHOMA CITY, OK 73113

           If you have any questions concerning this matter, please contact the Benefits Coordination &
           Recovery Center (BCRC) by phone at 1-855-798-2627 (TTY/TDD: 1-855-797-2627 for the
           hearing and speech impaired), in writing at the address below, or by fax to 405-869-3309. When
           sending correspondence, please include the Beneficiary Name along with the Medicare ID and
           Case Identification Number (shown above).




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                                                                                                                                                                      Coordination of
                                 CMS                                                                                                                            Benefits and Recovery
                                CENTERS FOR MEDICARE & MEDICAID SERVICES




                                                                       Payment Summary Form


Report Number:                             RMCAN - 5-5
                                                                                                                                                                         Date::         09/22/2017
Contractor:                                SPECIAL PROJECTS
                                                                                                                                                                         Time:            06:17:31

                                                                                                                                                                                    Page 5 of 33




                                                                                                                                     Case ID:                   20130 85090 00178
Beneficiary Name:                          MATTILA, MILDA E

                                                                                                                                     Case Type:                 L - Liability
Beneficiary Medicare ID:                   384123594B

                                                                                                                                     Date of Incident:          06/01/2012



                                                                                             ICD         Diagnosis                                  Total        Reimburse Conditional                                                                                   co
                                Line       Processing                                                                  From Date     To Date                                                                                                                             g
TOS            ICN                                                         Provider Name                                                           Charges        Amount    Payment
                                           Contractor                                      Indicator       Codes                                                                                                                                                        g
                                 #
                                                                                                                                                                                                                                                                        O

                                                                                                       7291,7197,      09/23/2012   09/27/2012      $2,300.00       $1,004.98            $1,004.98                                                                       o
40    2 1 23 1 00099 1 307WIA    0              00450               REGENCY AT CANTON      ICD-9
                                                                                                       72887                                                                                                                                                             s
                                                                                                                                                                                                                                                                        pj

                                                                                           ICD-9       99939, 00845,   10/05/2012   12/27/2012    $559,479.15    $157,310.97        $157,310.97
60    2131 1901966707MIA         0              08201               ST JOSEPH MERCY                                                                                                                                                                                    5
                                                                                                       0389, 1179,                                                                                                                                                    £!
                                                                    HOSPITAL
                                                                                                       2639, 2724,
                                                                                                       2752,2761,
                                                                                                       2768, 28419,
                                                                                                       29212, 3211,
                                                                                                       3241, 34830,
                                                                                                       35981,496,
                                                                                                       51881,5849,
                                                                                                       5990, 6959,
                                                                                                       7812, 78552,
                                                                                                       7993, 99592,
                                                                                                                                                                                                     4I20176 0893
                                                                                                       99988
                                                                                                                                                                                                              Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 6 of 34
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                               CMS                                                                                                                             Coordination of
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                              CENTERS FOR MEDICARE & MEDICAID SERVICES




60   2 1 635400000908PAM            0               12901                SELECT SPECIALTY     ICD-9   51881, E9320,   12/27/2012   04/12/2013   $501,515.23   $101,898.73        $101,898.73
                                                                         HOSPITAL-ANN ARBOR           V4611, V551,
                                                                                                      00845,261,
                                                                                                      3211,3241,
                                                                                                      34830, 4821,
                                                                                                      70724

20   2131 29008225040HA             0               15201                HEARTLAND HEALTH     ICD-9   3229, V440,     04/12/2013   04/30/2013    $19,991.22     $14,087.33        $14,087.33
                                                                         CARE CENTER-ANN              00845, 25000,
                                                                         ARBOR                        2900, 3241,
                                                                                                      486, 53081,
                                                                                                      70724

20   2 1 3 1 5700847 104OHA          0              15201                HEARTLAND HEALTH     ICD-9   3229, V440,     05/01/2013   05/31/2013    $32,710.65     $18,633.40        $18,633.40
                                                                         CARE CENTER-ANN              00845, 25000,
                                                                         ARBOR                        2900, 3241,
                                                                                                      486, 53081,
                                                                                                      70724

40   2 1 324602323307MIA            0               08201                ST JOSEPH MERCY      ICD-9   1179, E9320,    05/09/2013   05/09/2013        $15.00           $44.58          $15.00
                                                                         HOSPITAL                     3211, 3241

20   2131 90009 1 2404OHA           0               15201                HEARTLAND HEALTH     ICD-9   3229, V440,     06/01/2013   06/30/2013    $29,073.40     $17,891.96        $17,891.96
                                                                         CARE CENTER-ANN              00845, 25000,
                                                                         ARBOR                        2900, 3241,
                                                                                                      486, 53081,
                                                                                                      70724

20   21408500931 104OHA             0               15201                HEARTLAND HEALTH     ICD-9   3229, V440,     07/01/2013   07/27/2013    $22,909.79     $10,786.88        $10,786.88
                                                                         CARE CENTER-ANN              00845, 25000,
                                                                         ARBOR                        2900, 3241,
                                                                                                      486, 53081,
                                                                                                      70724

40   213232008756040HA              0               15201                HEARTLAND HEALTH     ICD-9   3229            07/22/2013   07/26/2013       $631.90         $403.75          $403.75
                                                                         CARE CENTER-ANN
                                                                         ARBOR

40   2141 60000 1 0307MIA           0               08201                UNIVERSITY OF        ICD-9   3229            07/22/2013   07/22/2013      $145.00            $14.02          $14.02
     U                                                                   MICHIGAN HEALTH
                                                                         SYSTEM
                                                                                                                                                                                                        Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 7 of 34




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                                 CMS
                                CENTERS FOR MEDICARE & MEDICAID SERVICES




                                                                                                                       07/22/2013   07/26/2013      $631.90         $403.75       $403.75
40   2141 63008553040HA               0               15201                HEARTLAND HEALTH    ICD-9   3229
                                                                           CARE CENTER-ANN
                                                                           ARBOR

                                                                                                                       07/24/2013   07/24/2013      $327.00           $51.97        $51.97
40   21416000019807MIA                0               08201                UNIVERSITY OF       ICD-9   3229

     U                                                                     MICHIGAN HEALTH
                                                                           SYSTEM

                                                                                                                       07/27/2013   07/27/2013      $372.00           $18.30        $18.30
40   2 1 32280 1 467 907MIA           0               08201                UNIVERSITY OF       ICD-9   3229

                                                                           MICHIGAN HEALTH
                                                                           SYSTEM

                                                                                                                       07/27/2013   07/27/2013    $2,674.70         $375.22       $375.22
40   21713601532307MIA                0              08201                 ST JOSEPH MERCY     ICD-9   78060, E8751,
                                                                           HOSPITAL                    00845, 1179,
                                                                                                       2630, 28860,
                                                                                                       3241,4019,
                                                                                                       51883,53081,
                                                                                                       70703, 70724,
                                                                                                       73313, 99939


                                      0                                    ST JOSEPH MERCY     ICD-9   78060, E8751,   07/28/2013   08/06/2013   $15,157.95      $1,324.57       $1,324.57
40   2 1 7 1 350 1 925407MI A                        08201
                                                                           HOSPITAL                    00845, 1 179,
                                                                                                                                                                                                                                                                CO
                                                                                                       2630, 28860,                                                                                                                                             g

                                                                                                                                                                                                                                                                 g
                                                                                                       3241, 4019,
                                                                                                                                                                                                                                                                o
                                                                                                       51883,53081,
                                                                                                                                                                                                                                                                o
                                                                                                       70703, 70724,
                                                                                                       73313,99939
                                                                                                                                                                                                                                                               5
                                                                                                                                                                                                                                                                OJ


                                                                                                                                    08/09/2013     $708.98          $487.33       $487.33                                                                      O
40   2 1 3283009235040HA              0              15201                 HEARTLAND HEALTH    ICD-9   3229,7197,      08/07/2013                                                                                                                            g

                                                                           CARE CENTER-ANN             72887,7813,
                                                                           ARBOR                       78440

                                                                                                       481, V440,      09/01/2013   09/19/2013   $1,240.08          $603.02       $603.02
40   21328001817007WIA                0              06001                 SOUTH LYON SENIOR   ICD-9
                                                                           CARE AND REHAB              3211,5990,



40



40
     21328800762104MIA



     2132800 18171 07WIA             0
                                      0              08201



                                                     06001
                                                                           CENTER, LLC

                                                                           ST JOSEPH MERCY
                                                                           HOSPITAL

                                                                           SOUTH LYON SENIOR
                                                                                               ICD-9



                                                                                               ICD-9
                                                                                                       78192, 78722

                                                                                                       99939, 1179,
                                                                                                       3211,3241

                                                                                                       3211, V440,
                                                                                                                       09/12/2013



                                                                                                                       09/26/2013
                                                                                                                                    09/12/2013



                                                                                                                                    09/30/2013
                                                                                                                                                   $242.00



                                                                                                                                                   $805.05
                                                                                                                                                                     $75.43



                                                                                                                                                                   $344.20
                                                                                                                                                                                   $75.43



                                                                                                                                                                                  $344.20
                                                                                                                                                                                              4J20176 8093
                                                                           CARE AND REHAB              481,5990,
                                                                                                                                                                                                       Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 8 of 34




                                                                           CENTER, LLC                 78192, 78722




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                                CMS
                               CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                                                                       Benefits and Recovery




40   21332401434407MIA               0               08201                ST JOSEPH MERCY     ICD-9   99939, E8751,   11/11/2013   11/11/2013   $5,060.00         $345.41       $345.41
                                                                          HOSPITAL                    1179, 3211

40   2 1 400900452207WIA             0               06001                SOUTH LYON SENIOR   ICD-9   V440, 3211,     12/02/2013   12/31/2013   $2,755.06      $1,248.31       $1,248.31
                                                                          CARE AND REHAB              53085, 7197,
                                                                          CENTER, LLC                 78722

40   21335 101912307MIA              0               08201                ST JOSEPH MERCY     ICD-9   3241 , E9320,   12/05/2013   12/05/2013      $15.00           $44.58        $1'5.00
                                                                          HOSPITAL                    1179, 3211

40   2 1 4 1 6300 1 36604WIA         0               06001                SOUTH LYON SENIOR   ICD-9   V440, 3211,     01/02/2014   01/30/2014   $1,100.04         $616.20       $616.20
                                                                          CARE AND REHAB              53085,7197,
                                                                          CENTER, LLC                 78722

40   2 1 402702649807MI A            0               08201                UNIVERSITY OF       ICD-9   7862, V440,     01/17/2014   01/17/2014    $899.00          $183.82       $183.82
                                                                          MICHIGAN HEALTH             1179, 3211
                                                                          SYSTEM

40   2 140660577 1407WIA             0               06001                SOUTH LYON SENIOR   ICD-9   3211,7197       02/02/2014   02/28/2014   $1,760.04         $967.50       $967.50
                                                                          CARE AND REHAB
                                                                          CENTER, LLC

40   2 1 409 905 260407WIA           0               06001                SOUTH LYON SENIOR   ICD-9   3211,7197       03/03/2014   03/03/2014      $80.02           $42.99       $42.99
                                                                          CARE AND REHAB
                                                                          CENTER, LLC

40   2 1 40840 1 660407MIA           0               08201                ST JOSEPH MERCY     ICD-9   99939, E8751,   03/20/2014   03/20/2014   $5,078.00         $309.07       $309.07
                                                                          HOSPITAL                    1179, 3211

60   2 1 5 35000906 1 04MIA          0               08201                ST JOSEPH MERCY     ICD-9   0389, VI 254,   06/08/2015   06/10/2015   $7,714.25     $12,249.93       $7,714.25
                                                                          HOSPITAL                    V4579, V4986,
                                                                                                      1120, 2859,
                                                                                                      29420,4019,
                                                                                                      53081,53085,
                                                                                                      59010, 70703,
                                                                                                      70724, 71690,
                                                                                                      78830, 99591

71   681912179884030               001              00953                 SHALHOUB,           ICD-9   7213, 30000,    06/21/2012   06/21/2012   $1,043.00         $501.10       $501.10
                                                                          ALEXANDER G                 72252, 7242

71   681912179884030               002              00953                 SHALHOUB,           ICD-9   7213,30000,     06/21/2012   06/21/2012    $870.00          $417.34       $417.34
                                                                          ALEXANDER G                 72252, 7242
                                                                                                                                                                                                    Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 9 of 34




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                                                                                                                                                    Coordination of
                        CMS                                                                                                                    Benefits and Recovery
                       CENTERS FOR MEDICARE & MEDICAID SERVICES




                                                                                                                           06/21/2012    $190.00            $20.58      $20.58
                           003               00953                SHALHOUB,           ICD-9   7213,30000,     06/21/2012
71   681912179884030
                                                                  ALEXANDER G                 72252, 7242

                                                                                                                           06/21/2012      $20.00            $0.46       $0.46
71   681912179884030       004               00953                SHALHOUB,           ICD-9   7213,30000,     06/21/2012
                                                                  ALEXANDER G                 72252, 7242

                                                                                                                           06/21/2012       $8.00            $0.78       $0.78
     681912179884030       005               00953                SHALHOUB,           ICD-9   7213, 30000,    06/21/2012
71
                                                                  ALEXANDER G                 72252, 7242

                                                                                                              09/20/2012   09/20/2012    $279.30          $138.88      $138.88
71   681112272631720       001               99999                MEDICARE PROVIDER   ICD-9   78039, 34830,
                                                                                              7242, 7295

                                                                                                              09/21/2012   09/21/2012      $87.00           $45.12      $45.12
71   681112275765030       001               99999                MEDICARE PROVIDER   ICD-9   78039

                                                                                                              09/30/2012   09/30/2012     $26.00             $8.16       $8.16
71   681112282682830       001               99999                MEDICARE PROVIDER   ICD-9   71945, 7242,
                                                                                              78650

                                                                                                              09/30/2012   09/30/2012     $36.00           $10.11       $10.11
71   681112282682830       002              99999                 MEDICARE PROVIDER   ICD-9   71945,7242,
                                                                                              78650

                                                                                                              10/05/2012   10/05/2012    $323.00          $166.04      $166.04
71   681112286262150       001              99999                 MEDICARE PROVIDER   ICD-9   3211,7840

                                                                                                              10/05/2012   10/05/2012   $1,051.00         $122.38      $122.38
71   681112292441680       001              99999                 MEDICARE PROVIDER   ICD-9   3229
                                                                                                                                                                                                                                                       co
                                                                                                                                                                                                                                                       g
                                                                                              3211,7840       10/06/2012   10/06/2012    $120.00           $58.79       $58.79
71   681112292224240       001              99999                 MEDICARE PROVIDER   ICD-9                                                                                                                                                           g

                                                                                                                                                                                                                                                       o
                                                                                                              10/06/2012   10/06/2012    $210.00          $164.38      $164.38
71   681112307560500       001              99999                 MEDICARE PROVIDER   ICD-9   1179, 3211                                                                                                                                               o


                                                                                                              10/09/2012   10/09/2012     $92.00           $58.21       $58.21                                                                          5
71   681112307560500       002              99999                 MEDICARE PROVIDER   ICD-9   1179, 3211                                                                                                                                               CM


                                                                                              3211,7840       10/07/2012   10/07/2012    $120.00           $58.79       $58.79                                                                         5
71   681112292224230       001              99999                 MEDICARE PROVIDER   ICD-9                                                                                                                                                            CM



                                                                                      ICD-9   3211,7840       10/08/2012   10/08/2012    $120.00           $58.79       $58.79
71   681112292224250       001              99999                 MEDICARE PROVIDER

                                                                                      ICD-9   3211,7840       10/09/2012   10/09/2012    $120.00           $58.79       $58.79
71   681813239133620       001              08202                 LILES, SCOTT A

                                                                                      ICD-9   3211,2761,      10/10/2012   10/10/2012    $120.00           $58.79       $58.79
71   681812318506900       001              99999                 MEDICARE PROVIDER



71

71
     681112313721160

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                                                                  MEDICARE PROVIDER

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                                                                                      ICD-9

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                                                                                      ICD-9
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                                                                                                                           10/15/2012
                                                                                                                                         $140.00

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                                                                                                                                                                                  4K20176 8093
71   681112313721160       003              99999
                                                                                                                                                                                           Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 10 of 34




                                                                                      ICD-9   1179            10/16/2012   10/16/2012    $100.00           $58.79      $58.79
71   681112313721160       004              99999                 MEDICARE PROVIDER




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                       CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                                                           Benefits and Recovery




71   681112313721160       005               99999                MEDICARE PROVIDER   ICD-9   1179          10/17/2012   10/17/2012   $140.00           $84.42      $84.42

71   681112313721160       006               99999                MEDICARE PROVIDER   ICD-9   1179          10/18/2012   10/18/2012   $140.00           $84.42      $84.42


71   681112313721160       007               99999                MEDICARE PROVIDER   ICD-9   1179          10/19/2012   10/19/2012   $140.00           $84.42      $84.42

71   681112313721160       008               99999                MEDICARE PROVIDER   ICD-9   1179          10/20/2012   10/20/2012   $140.00           $84.42      $84.42


71   681112313721160       009               99999                MEDICARE PROVIDER   ICD-9   1179          10/22/2012   10/22/2012   $140.00           $84.42      $84.42

71   681112313721160       010               99999                MEDICARE PROVIDER   ICD-9   1179          10/23/2012   10/23/2012   $140.00           $84.42      $84.42

71   681812318506870       001               99999                MEDICARE PROVIDER   ICD-9   3211,2761,    10/11/2012   10/11/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904

71   681112311255180       001               99999                MEDICARE PROVIDER   ICD-9   7905, 1179    10/12/2012   10/12/2012   $311.00         $141.14      $141.14

71   681812318506890       001               99999                MEDICARE PROVIDER   ICD-9   3211,2761,    10/12/2012   10/12/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904

71   681812318506910       001               99999                MEDICARE PROVIDER   ICD-9   3211, 2761,   10/13/2012   10/13/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904

71   681812318506940       001               99999                MEDICARE PROVIDER   ICD-9   3211,2761,    10/14/2012   10/14/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904

71   681812318506930       001               99999                MEDICARE PROVIDER   ICD-9   3211,2761,    10/15/2012   10/15/2012   $120.00          $58.79       $58.79
                                                                                              7840, 7904

71   681812318506860       001              99999                 MEDICARE PROVIDER   ICD-9   3211,2761,    10/16/2012   10/16/2012   $120.00          $58.79       $58.79
                                                                                              7840, 7904

71   681812318506920       001              99999                 MEDICARE PROVIDER   ICD-9   3211,2761,    10/17/2012   10/17/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904

71   681812318506950       001              99999                 MEDICARE PROVIDER   ICD-9   3211,2761,    10/18/2012   10/18/2012   $120.00           $58.79      $58.79
                                                                                              7840, 7904

71   681112305232040       001              99999                 MEDICARE PROVIDER   ICD-9   34830, 3229   10/19/2012   10/19/2012   $323.00         $166.04      $166.04

71   681112305232040       002              99999                 MEDICARE PROVIDER   ICD-9   34830, 3229   10/21/2012   10/21/2012   $120.00          $58.79       $58.79

71   681112305232040       003              99999                 MEDICARE PROVIDER   ICD-9   34830, 3229   10/21/2012   10/21/2012    $67.00              $0.00     $0.00

71   681812318506880       001              99999                 MEDICARE PROVIDER   ICD-9   3211,2761,    10/19/2012   10/19/2012   $120.00          $58.79       $58.79
                                                                                              7840, 7904
                                                                                                                                                                                     Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 11 of 34




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                        CMS                                                                                                                 Benefits and Recovery
                       CENTERS FOR MEDICARE & MEDICAID SERVICES




                                                                                                                          10/20/2012   $169.00           $84.42      $84.42
                                             99999                MEDICARE PROVIDER   ICD-9   3211,2761,     10/20/2012
71   681112310179510       001
                                                                                              7840, 7904

                                                                                                                          10/21/2012   $169.00           $84.42      $84.42
                                             99999                MEDICARE PROVIDER   ICD-9   34830, 3211,   10/21/2012
71   681112307191470       001
                                                                                              7840, 7904

                                                                                                             10/22/2012   10/22/2012   $169.00           $84.42      $84.42
71   681112307191510       001               99999                MEDICARE PROVIDER   ICD-9   34830, 3211,
                                                                                              7840, 7904

                                                                                                                          10/23/2012   $169.00           $84.42      $84.42
     681112307191490                         99999                MEDICARE PROVIDER   ICD-9   34830, 3211,   10/23/2012
71                         001
                                                                                              7840, 7904

                                                                                                             10/23/2012   10/23/2012   $372.46         $184.93      $184.93
71   681812307059060       001               99999                MEDICARE PROVIDER   ICD-9   1179, 3211,
                                                                                              34830

                                                                                                             10/24/2012   10/24/2012   $372.46         $184.93      $184.93
71   681812307059050       001               99999                MEDICARE PROVIDER   ICD-9   1179, 3211,
                                                                                              34830

                                                                                                             10/25/2012   10/25/2012   $372.46         $184.93      $184.93
71   681812307059050       002               99999                MEDICARE PROVIDER   ICD-9   1179, 3211,
                                                                                              34830

                                                                                                             10/24/2012   10/24/2012   $332.18         $166.04      $166.04
71   681112306629480       001              99999                 MEDICARE PROVIDER   ICD-9   34830, 3211,
                                                                                              33183
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                                                                                                             10/26/2012   10/26/2012   $117.62          $58.79       $58.79
                           002              99999                 MEDICARE PROVIDER   ICD-9   34830, 3211,                                                                                                                                     g
71   681112306629480
                                                                                              33183                                                                                                                                             o

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                                                                                                             10/24/2012   10/24/2012   $140.00          $84.42       $84.42
71   681112313721170       001              99999                 MEDICARE PROVIDER   ICD-9   1179                                                                                                                                            5
                                                                                                                                                                                                                                              eg

                                                                                                             10/25/2012   10/25/2012   $140.00          $84.42       $84.42
71   681112313721170       002              99999                 MEDICARE PROVIDER   ICD-9   1179                                                                                                                                            5
                                                                                                                                                                                                                                              eg

                                                                                                             10/27/2012   10/27/2012   $140.00          $84.42       $84.42
71   681112313721170       003              99999                 MEDICARE PROVIDER   ICD-9   1179

                                                                                              3211, 7840,    10/26/2012   10/26/2012   $120.00          $58.79       $58.79
71   681112307191530       001              99999                 MEDICARE PROVIDER   ICD-9
                                                                                              7904

                                                                                                                                                        $84.42      $84.42
71



71
     681812313433400



     681812313433390
                           001



                           001
                                            99999



                                            99999



                                            99999
                                                                  MEDICARE PROVIDER



                                                                  MEDICARE PROVIDER



                                                                  MEDICARE PROVIDER
                                                                                      ICD-9



                                                                                      ICD-9



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                                                                                              7840, 2761,
                                                                                              3229, 78093

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                                                                                              1179
                                                                                                             10/27/2012



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                                                                                                                                       $169.00



                                                                                                                                       $120.00



                                                                                                                                       $140.00
                                                                                                                                                        $58.79



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71   681112320078280       001
                                                                                                                                                                                        Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 12 of 34




                                                                                              1179           10/30/2012   10/30/2012   $140.00          $84.42      $84.42
71   681112320078280       002              99999                 MEDICARE PROVIDER   ICD-9




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                        CMS
                       CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                                                             Benefits and Recovery




71   681112320078280       003               99999                MEDICARE PROVIDER   ICD-9   1179          11/01/2012    11/01/2012    $100.00           $58.79     $58.79

71   681112320078280       004               99999                MEDICARE PROVIDER   ICD-9   1179          1 1/02/2012   11/02/2012    $100.00           $58.79     $58.79

71   681112320078280       005               99999                MEDICARE PROVIDER   ICD-9   1179          11/05/2012    11/05/2012    $140.00           $84.42     $84.42

71   681112320078280       006               99999                MEDICARE PROVIDER   ICD-9   1179          11/07/2012    11/07/2012    $140.00           $84.42     $84.42

71   681812313433420       001               99999                MEDICARE PROVIDER   ICD-9   3229, 262,    10/29/2012    10/29/2012    $120.00           $58.79     $58.79
                                                                                              33183,4011

71   681812313433380       001               99999                MEDICARE PROVIDER   ICD-9   3229, 262,    10/30/2012    10/30/2012    $120.00           $58.79     $58.79
                                                                                              33183,4011

71   681812313433410       001               99999                MEDICARE PROVIDER   ICD-9   3229, 262,    10/31/2012    10/31/2012    $120.00           $58.79     $58.79
                                                                                              33183,4011

71   681812318506840       001               99999                MEDICARE PROVIDER   ICD-9   3229, 262,    11/01/2012    11/01/2012    $120.00           $58.79     $58.79
                                                                                              72887, 7812

71   681812318506850       001               99999                MEDICARE PROVIDER   ICD-9   3229, 262,    11/02/2012    11/02/2012    $169.00           $84.42     $84.42
                                                                                              72887, 7812

71   681112332473060       001               99999                MEDICARE PROVIDER   ICD-9   72887, 262,   11/03/2012    11/03/2012     $92.00           $58.86     $58.86
                                                                                              3229, 7812

71   681112332473090       001               99999                MEDICARE PROVIDER   ICD-9   72887, 262,   11/04/2012    1 1/04/2012    $92.00           $58.86     $58.86
                                                                                              3229, 7812

71   681112332473080       001               99999                MEDICARE PROVIDER   ICD-9   72887, 262,   11/05/2012    11/05/2012    $169.00           $84.42     $84.42
                                                                                              3229, 7812

71   681112319639510       001               99999                MEDICARE PROVIDER   ICD-9   1179          11/06/2012    1 1/06/2012   $175.00           $84.33     $84.33

71   681812317007200       001               99999                MEDICARE PROVIDER   ICD-9   7242, 7937    1 1/06/2012   11/06/2012    $339.00           $98.38     $98.38

71   681112332473100       001               99999                MEDICARE PROVIDER   ICD-9   72887, 262,   1 1/06/2012   11/06/2012    $120.00           $58.79     $58.79
                                                                                              3229, 7812

71   681812314429170       001              99999                 MEDICARE PROVIDER   ICD-9   3229          11/07/2012    1 1/07/2012    $89.00          $32.26      $32.26

71   681112334102060       001              99999                 MEDICARE PROVIDER   ICD-9   72887, 262,   11/07/2012    11/07/2012    $120.00          $58.79      $58.79
                                                                                              3229, 7812

71   681112331106460       001              99999                 MEDICARE PROVIDER   ICD-9   1179          11/08/2012    11/08/2012    $140.00          $84.42      $84.42
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                        CMS                                                                                                                   Benefits and Recovery
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                                                                                                             11/08/2012   11/08/2012    $120.00            $58.79       $58.79
71   681112334102050       001               99999                MEDICARE PROVIDER    ICD-9   72887, 262,
                                                                                               3229, 7812

                                                                                                             11/09/2012   11/09/2012    $120.00            $58.79       $58.79
71   681112332473070       001               99999                MEDICARE PROVIDER    ICD-9   3249, 3211,
                                                                                               7830

                                                                                                             11/10/2032   11/10/2012    $169.00            $84.42       $84.42
71   681112355099750       001               99999                MEDICARE PROVIDER    ICD-9   3211,2639,
                                                                                               3249, 7830

                                                                                                             11/11/2012   11/11/2012    $169.00            $84.42        $84.42
71   681112355099690       001               99999                MEDICARE PROVIDER    ICD-9   3211,2639,
                                                                                               3249, 7830

                                                                                                             11/12/2012   11/12/2012      $36.00           $10.11       $10.11
71   681112320606790       001               99999                MEDICARE PROVIDER    ICD-9   7242

                                                                                                             11/12/2012   11/12/2012   $7,300.00      $1,002.97       $1,002.97
71   681812326573080       001               99999                MEDICARE PROVIDER    ICD-9   3229

                                                                                                             11/12/2012   11/12/2012       $0.00              $0.00       $0.00
71   681812338111450       003              99999                 MEDICARE PROVIDER    ICD-9   3241

                                                                                               3241          11/12/2012   11/12/2012       $0.00              $0.00       $0.00
71   681812338111450       004              99999                 MEDICARE PROVIDER    ICD-9

                                                                                                             11/12/2012   11/12/2012    $120.00           $58.79        $58.79
71   681112355099700       001              99999                 MEDICARE PROVIDER    ICD-9   3249, 2639,
                                                                                               3211,7830

                                                                                               3229          11/12/2012   11/12/2012   $7,300.00         $136.40       $136.40                                                                           co
71   681113007046860       001              99999                 MEDICARE PROVIDER    ICD-9                                                                                                                                                            g

                                                                                                                                                                         $9.12                                                                          g
                                                                                               3241          11/12/2012   11/12/2012    $120.00               $9.12
71   681913107089340       001              08202                 VALENSTEIN, PAUL N   ICD-9                                                                                                                                                            o

                                                                                                                                                                         $9.96                                                                         o
                                                                                               3241          11/12/2012   11/12/2012     $38.50               $9.96
71   681913107089340       002              08202                 VALENSTEIN, PAUL N   ICD-9
                                                                                                                                                                                                                                                      £
                                                                                               3241          11/12/2012   11/12/2012    $108.50           $21.37        $21.37
71   681913107089340       003              08202                 VALENSTEIN, PAUL N   ICD-9
                                                                                                                                                                                                                                                       5
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                                                                                               3249, 2639,   11/13/2012   11/13/2012    $120.00           $58.79        $58.79
71   681112355099710       001              99999                 MEDICARE PROVIDER    ICD-9                                                                                                                                                         2
                                                                                               3211,7830

                                                                                       ICD-9   3249, 2639,   11/14/2012   11/14/2012    $120.00           $58.79        $58.79
71   681112355099720       001              99999                 MEDICARE PROVIDER
                                                                                               3211,7830


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71
     681812333304090

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                                                                  MEDICARE PROVIDER

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                                                                                                             11/15/2012

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                                                                                       ICD-9   3249, 2639,   11/16/2012   11/16/2012    $169.00           $84.42        $84.42
71   681112355099730       001              99999                 MEDICARE PROVIDER
                                                                                                                                                                                            Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 14 of 34




                                                                                               3211,7830



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                       CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                                                            Benefits and Recovery




71   681112340172560       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/17/2012   11/17/2012    $120.00           $58.79     $58.79
                                                                                              7830

71   681112340172500       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/18/2012   11/18/2012    $120.00           $58.79     $58.79
                                                                                              7830

71   681112340172580       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/19/2012   11/19/2012    $120.00           $58.79     $58.79
                                                                                              7830

71   681112348236600       001               99999                MEDICARE PROVIDER   ICD-9   1179          11/19/2012   11/19/2012    $140.00           $84.42     $84.42

71   681112348236600       002               99999                MEDICARE PROVIDER   ICD-9   1179          11/20/2012   11/20/2012    $140.00           $84.42     $84.42


71   681112348236600       003               99999                MEDICARE PROVIDER   ICD-9   1179          11/21/2012   1 1/21/2012   $140.00           $84.42     $84.42

71   681112348236600       004               99999                MEDICARE PROVIDER   ICD-9   1179          11/25/2012   11/25/2012    $140.00           $84.42     $84.42


71   681112348236600       005               99999                MEDICARE PROVIDER   ICD-9   1179          11/26/2012   11/26/2012    $140.00           $84.42     $84.42

71   681112348236600       006               99999                MEDICARE PROVIDER   ICD-9   1179          11/27/2012   11/27/2012    $140.00           $84.42     $84.42

71   681112348236600       007               99999                MEDICARE PROVIDER   ICD-9   1179          11/28/2012   11/28/2012    $140.00           $84.42     $84.42

71   681112338336330       001               99999                MEDICARE PROVIDER   ICD-9   99939         11/20/2012   11/20/2012     $30.00            $7.18      $7.18

71   681112340172520       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/20/2012   11/20/2012    $120.00           $58.79     $58.79
                                                                                              7830

71   681112340172480       001              99999                 MEDICARE PROVIDER   ICD-9   3249, 3211,   11/21/2012   11/21/2012    $120.00           $58.79     $58.79
                                                                                              7830

71   681112340172540       001              99999                 MEDICARE PROVIDER   ICD-9   3249, 3211,   11/22/2012   11/22/2012    $120.00           $58.79     $58.79
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71   681112340172600       001               99999                MEDICARE PROVIDER   ICD-9   3249, 3211,   11/23/2012   11/23/2012    $120.00           $58.79     $58.79
                                                                                              7830

71   681112340172380       001              99999                 MEDICARE PROVIDER   ICD-9   3249, 3211,   11/24/2012   11/24/2012    $120.00           $58.79     $58.79
                                                                                              7830

71   681112340172420       001              99999                 MEDICARE PROVIDER   ICD-9   3249, 3211,   11/25/2012   11/25/2012    $120.00           $58.79     $58.79
                                                                                              7830

71   681112340172440       001              99999                 MEDICARE PROVIDER   ICD-9   3249, 3211,   11/26/2012   11/26/2012    $120.00           $58.79     $58.79
                                                                                              7830
                                                                                                                                                                                     Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 15 of 34




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                       (fCMS                                                                                                                  Benefits and Recovery
                       ^ CENTERS FOR MEDICARE & MEDICAID SERVICES



                                                                                                               11/27/2012   11/27/2012   $120.00           $58.79      $58.79
71   681112340172460            001             99999               MEDICARE PROVIDER   ICD-9   3249, 3211,
                                                                                                7830

                                                                                                               11/28/2012   11/28/2012   $120.00           $58.79      $58.79
71   681112340172400            001             99999               MEDICARE PROVIDER   ICD-9   3249, 3211,
                                                                                                7830

                                                                                                               11/29/2012   11/29/2012   $120.00           $58.79      $58.79
71   681812340345880            001             99999               MEDICARE PROVIDER   ICD-9   3249, 3211,
                                                                                                7830

                                                                                                               11/30/2012   11/30/2012   $140.00           $84.42      $84.42
71   681112353256890            001             99999               MEDICARE PROVIDER   ICD-9   1179

                                                                                                               12/03/2012   12/03/2012   $140.00           $84.42      $84.42
71   681112353256890            002             99999               MEDICARE PROVIDER   ICD-9   1179

                                                                                                               12/04/2012   12/04/2012   $140.00           $84.42      $84.42
71   681112353256890            003             99999               MEDICARE PROVIDER   ICD-9   1179

                                                                                                               12/05/2012   12/05/2012   $140.00          $84.42       $84.42
71   681112353256890            004             99999               MEDICARE PROVIDER   ICD-9   1179

                                                                                                               11/30/2012   11/30/2012   $120.00           $58.79      $58.79
71   681812340345890            001             99999               MEDICARE PROVIDER   ICD-9   3249, 3211,
                                                                                                7830

                                                                                                               12/01/2012   12/01/2012   $120.00           $58.79      $58.79
71   681112349098180            001             99999               MEDICARE PROVIDER   ICD-9   3249, 3211,
                                                                                                7830

                                                                                                               12/02/2012   12/02/2012   $120.00           $58.79      $58.79
                                                                    MEDICARE PROVIDER   ICD-9   3249, 3211,                                                                                                                                                 CO
71   681112349098190            001             99999                                                                                                                                                                                                      g
                                                                                                7830                                                                                                                                                       g

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                                                                                                               12/03/2012   12/03/2012   $169.00          $84.42       $84.42
71   681112349098170            001             99999               MEDICARE PROVIDER   ICD-9   3249, 3211,                                                                                                                                                o

                                                                                                67020, 7830
                                                                                                                                                                                                                                                          5
                                                                                                                                                                                                                                                          CM
                                                                                                               12/03/2012   12/03/2012   $372.46         $184.93      $184.93
71   681913009357050            001             99999               MEDICARE PROVIDER   ICD-9   00845, 1179,
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                                                                                                3211,99591                                                                                                                                                CM
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                                                                                                               12/04/2012   12/04/2012   $372.46         $184.93      $184.93
71   681812362543890            001             99999               MEDICARE PROVIDER   ICD-9   00845, 1179,
                                                                                                3211,99591

                                                                                                00845, 1179,   12/04/2012   12/04/2012   $187.52          $92.96       $92.96
71   681812362543890            002             99999               MEDICARE PROVIDER   ICD-9



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     681812362543890



     681812362543890
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                                                99999
                                                                    MEDICARE PROVIDER



                                                                    MEDICARE PROVIDER
                                                                                        ICD-9



                                                                                        ICD-9
                                                                                                3211,99591

                                                                                                00845, 1179,
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                                                                                                               12/05/2012



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                                                                                                                                         $372.46



                                                                                                                                         $187.52
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                                                                                                00845, 1179,   12/06/2012   12/06/2012   $372.46         $184.93      $184.93
71   681812362543890           005             99999                MEDICARE PROVIDER   ICD-9
                                                                                                3211,99591


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                        CMS
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71   681812362543890       006               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,    12/07/2012   12/07/2012   $372.46         $184.93      $184.93
                                                                                              3211,99591

71   681812362543890       007               99999                MEDICARE PROVIDER   ICD-9   00845, 1 179,   12/07/2012   12/07/2012   $187.52           $92.96      $92.96
                                                                                              3211,99591

71   681812362543890       008               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,    12/08/2012   12/08/2012   $372.46         $184.93      $184.93
                                                                                              3211,99591

71   681812362543890       009               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,    12/08/2012   12/08/2012   $187.52           $92.96      $92.96
                                                                                              3211,99591

71   681812362543890       010               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,    12/09/2012   12/09/2012   $372.46         $184.93      $184.93
                                                                                              3211,99591

71   681812362543890       011               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,    12/09/2012   12/09/2012   $187.52           $92.96      $92.96
                                                                                              3211,99591

71   681112362259130       001              99999                 MEDICARE PROVIDER   ICD-9   1179            12/06/2012   12/06/2012   $140.00           $84.42      $84.42

71   681112362259130       002              99999                 MEDICARE PROVIDER   ICD-9   1179            12/07/2012   12/07/2012   $140.00           $84.42      $84.42

71   681112362259130       003              99999                 MEDICARE PROVIDER   ICD-9   1179            12/09/2012   12/09/2012   $140.00           $84.42      $84.42

71   681112362259130       004              99999                 MEDICARE PROVIDER   ICD-9   1179            12/11/2012   12/11/2012   $140.00          $84.42       $84.42

71   681112362259130       005              99999                 MEDICARE PROVIDER   ICD-9   1179            12/12/2012   12/12/2012   $140.00          $84.42       $84.42

71   681812362543870       001              99999                 MEDICARE PROVIDER   ICD-9   00845, 1179,    12/06/2012   12/06/2012    $88.35          $44.18       $44.18
                                                                                              3211,99591

71   681913108054800       001              08202                 KIERS, GERARD P     ICD-9   99939, 3211,    12/06/2012   12/06/2012   $509.00          $96.87       $96.87
                                                                                              78552, 99592

71   681112362265720       001              99999                 MEDICARE PROVIDER   ICD-9   79431,99939     12/08/2012   12/08/2012    $30.00            $7.18       $7.18

71   681112362265720       002              99999                 MEDICARE PROVIDER   ICD-9   79431,99939     12/08/2012   12/08/2012    $30.00            $7.18       $7.18

71   681812362543880       001              99999                 MEDICARE PROVIDER   ICD-9   00845, 1 179,   12/10/2012   12/10/2012   $372.46         $184.93      $184.93
                                                                                              3211,99591

71   681812362543880       002              99999                 MEDICARE PROVIDER   ICD-9   00845, 1179,    12/11/2012   12/11/2012   $372.46         $184.93      $184.93
                                                                                              3211,99591

71   681812362543880       003              99999                 MEDICARE PROVIDER   ICD-9   00845, 1 179,   12/12/2012   12/12/2012   $372.46         $184.93      $184.93
                                                                                              3211,99591
                                                                                                                                                                                       Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 17 of 34




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                        CMS                                                                                                                  Benefits and Recovery
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                                                                                                                           12/13/2012   $372.46         $184.93      $184.93
                           004               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,    12/13/2012
71   681812362543880
                                                                                              3211,99591

                                                                                                              12/14/2012   12/14/2012   $372.46         $184.93      $184.93
71   681812362543880       005               99999                MEDICARE PROVIDER   ICD-9   00845, 1 179,
                                                                                              3211,99591

                                                                                                              12/15/2012   12/15/2012   $372.46         $184.93      $184.93
71   681812362543880       006               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,
                                                                                              3211,99591

                                                                                                              12/16/2012   12/16/2012   $372.46         $184.93      $184.93
71   681812362543880       007               99999                MEDICARE PROVIDER   ICD-9   00845, 1179,
                                                                                              3211,99591

                                                                                                              12/14/2012   12/14/2012   $140.00           $84.42      $84.42
71   681112363204490       001               99999                MEDICARE PROVIDER   ICD-9   1179

                                                                                                              12/17/2012   12/17/2012   $140.00           $84.42      $84.42
71   681112363204490       002               99999                MEDICARE PROVIDER   ICD-9   1179

                                                                                                              12/18/2012   12/18/2012   $140.00           $84.42      $84.42
71   681112363204490       003               99999                MEDICARE PROVIDER   ICD-9   1179

                                                                                                              12/17/2012   12/17/2012   $372.46         $184.93      $184.93
71   681812366296370       001              99999                 MEDICARE PROVIDER   ICD-9   1179, 00845,
                                                                                              3211,34830

                                                                                              1179,00845,     12/18/2012   12/18/2012   $372.46         $184.93      $184.93
71   681812366296370       002              99999                 MEDICARE PROVIDER   ICD-9
                                                                                              3211,34830
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                                                                                              1179, 00845,    12/19/2012   12/19/2012   $372.46         $184.93      $184.93
71   681812366296370       003              99999                 MEDICARE PROVIDER   ICD-9                                                                                                                                                            g
                                                                                              3211, 34830                                                                                                                                               o

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                                                                                              1 179, 00845,   12/20/2012   12/20/2012   $372.46         $184.93      $184.93
71   681812366296370       004              99999                 MEDICARE PROVIDER   ICD-9
                                                                                                                                                                                                                                                        5
                                                                                              3211,34830                                                                                                                                                OJ



                                                                                                                           12/18/2012    $30.00              $7.18     $7.18                                                                           5
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71   681112362265290       001              99999                 MEDICARE PROVIDER   ICD-9   99939           12/18/2012
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                                                                                                              12/19/2012   12/19/2012   $140.00          $84.42       $84.42
71   681113003166340       001              99999                 MEDICARE PROVIDER   ICD-9   1179, 3249

                                                                                                              12/21/2012   12/21/2012   $140.00          $84.42       $84.42
71   681113003166340       002              99999                 MEDICARE PROVIDER   ICD-9   1179, 3249

                                                                                                              12/26/2012   12/26/2012   $140.00          $84.42       $84.42
                                                                                      ICD-9   1 179, 3249
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     681813021150970

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                                                                                                                                        $140.00

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                                                                                                                                                         $45.12
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                                                                                              2639, 3249,     12/19/2012   12/19/2012   $311.00         $141.14      $141.14
71   681112362258020       001              99999                 MEDICARE PROVIDER   ICD-9
                                                                                                                                                                                         Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 18 of 34




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71   681112362258790       001               99999                MEDICARE PROVIDER   ICD-9   2639, 3249      12/20/2012   12/20/2012    $61.00           $32.26      $32.26

71   681813016208370       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    12/21/2012   12/21/2012   $169.00           $84.42      $84.42
                                                                                              2639, 3211

71   681113003176230       001               99999                MEDICARE PROVIDER   ICD-9   99939           12/21/2012   12/21/2012    $30.00              $7.18     $7.18

71   681813016208300       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    12/22/2012   12/22/2012   $169.00           $84.42      $84.42
                                                                                              2639, 3211

71   681113003174640       001               99999                MEDICARE PROVIDER   ICD-9   99939           12/22/2012   12/22/2012    $30.00              $7.18     $7.18

71   681813016208340       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    12/23/2012   12/23/2012   $169.00           $84.42      $84.42
                                                                                              2639, 3211

71   681813016208360       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    12/24/2012   12/24/2012   $169.00           $84.42      $84.42
                                                                                              2639, 3211

71   681113004122160       001               99999                MEDICARE PROVIDER   ICD-9   99939           12/24/2012   12/24/2012    $30.00              $7.18     $7.18

71   681813016208350       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    12/25/2012   12/25/2012   $169.00           $84.42      $84.42
                                                                                              2639, 3211

71   681113004121150       001               99999                MEDICARE PROVIDER   ICD-9   99939           12/25/2012   12/25/2012    $30.00              $7.18     $7.18

71   681813016208380       001              99999                 MEDICARE PROVIDER   ICD-9   51881,00845,    12/26/2012   12/26/2012   $169.00          $84.42       $84.42
                                                                                              2639, 3211

71   681113007168080       001              99999                 MEDICARE PROVIDER   ICD-9   99939           12/26/2012   12/26/2012    $30.00              $7.18     $7.18

71   681113004255070       001              99999                 MEDICARE PROVIDER   ICD-9   34830, 2859,    12/27/2012   12/27/2012   $221.00         $113.58      $113.58
                                                                                              3211,78720

71   681113007171720       001              99999                 MEDICARE PROVIDER   ICD-9   99939           12/27/2012   12/27/2012    $30.00              $7.18     $7.18

71   681813016208390       001              99999                 MEDICARE PROVIDER   ICD-9   78060, 3211,    12/28/2012   12/28/2012   $169.00          $84.42       $84.42
                                                                                              34830, 78720

71   681813011518800       001              99999                 MEDICARE PROVIDER   ICD-9   51881, V4611,   12/28/2012   12/28/2012   $332.18         $139.73      $139.73
                                                                                              1179, 3211

71   681813016208330       001              99999                 MEDICARE PROVIDER   ICD-9   34830, 2859,    12/29/2012   12/29/2012   $120.00          $58.79       $58.79
                                                                                              3211,78720

71   681813023071910       001              99999                 MEDICARE PROVIDER   ICD-9   1179, 3249      12/30/2012   12/30/2012   $140.00          $84.42       $84.42
                                                                                                                                                                                       Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 19 of 34




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                                                                                                              12/30/2012   12/30/2012   $120.00           $58.79     $58.79
71   681813016208270       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,
                                                                                              34830, 78720

                                                                                                              12/31/2012   12/31/2012   $169.00           $84.42     $84.42
71   681813016208320       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,
                                                                                              34830, 78720

                                                                                                              01/01/2013   01/01/2013   $124.00           $59.05     $59.05
71   681813016208260       001               99999                MEDICARE PROVIDER   ICD-9   3211,2859,
                                                                                              34830, 78720

                                                                                                              01/02/2013   01/02/2013   $124.00           $50.49     $50.49
71   681813016208240       001               99999                MEDICARE PROVIDER   ICD-9   3211,2859,
                                                                                              34830, 78720

                                                                                                              01/03/2013   01/03/2013   $124.00           $59.05     $59.05
71   681813016208250       001              99999                 MEDICARE PROVIDER   ICD-9   3211,2859,
                                                                                              34830, 78720

                                                                                                              01/04/2013   01/04/2013   $124.00          $59.05      $59.05
71   681813016208280       001              99999                 MEDICARE PROVIDER   ICD-9   3211,2859,
                                                                                              34830, 78720

                                                                                                              01/05/2013   01/05/2013   $124.00          $59.05      $59.05
71   681813016208310       001              99999                 MEDICARE PROVIDER   ICD-9   34830, 2859,
                                                                                              3211,78720

                                                                                                              01/06/2013   01/06/2013   $124.00          $59.05      $59.05
71   681813028153770       001              99999                 MEDICARE PROVIDER   ICD-9   34830, 2859,
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                                                                                                              01/07/2013   01/07/2013   $124.00          $59.05      $59.05                                                                        g
71   681913028444870       001              99999                 MEDICARE PROVIDER   ICD-9   34830, 2859,
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                                                                                              51881, V4611,   01/08/2013   01/08/2013   $169.15          $72.44      $72.44
71   681813023464600       001              99999                 MEDICARE PROVIDER   ICD-9                                                                                                                                                        5
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                                                                                              1179, 3211
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                                                                                                                                                         $50.19      $50.19                                                                         C\J
                                                                                      ICD-9   51881, V4611,   01/10/2013   01/10/2013   $117.62                                                                                                   a.
71   681813023464600       002              99999                 MEDICARE PROVIDER
                                                                                              1179, 3211

                                                                                              34830, 2859,    01/08/2013   01/08/2013   $124.00          $59.05      $59.05
71   681813028153730       001              99999                 MEDICARE PROVIDER   ICD-9
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                                                                                                                                        $124.00
                                                                                                                                                         $85.22



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                          001               99999                 MEDICARE PROVIDER   ICD-9   34830, 2859,    01/11/2013   01/11/2013   $124.00
71   681813028153740
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71   681913035416100       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,     01/12/2013   01/12/2013   $175.00           $85.22     $85.22
                                                                                              34830, 78720

71   681913035416060       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,     01/13/2013   01/13/2013   $175.00           $85.22     $85.22
                                                                                              34830, 78720

71   681813023464590       001               99999                MEDICARE PROVIDER   ICD-9   51881, V4611,   01/14/2013   01/14/2013   $169.15           $72.44     $72.44
                                                                                              1179, 3211

71   681813023464590       002               99999                MEDICARE PROVIDER   ICD-9   51881, V4611,   01/17/2013   01/17/2013   $117.62           $50.19     $50.19
                                                                                              1179, 3211

71   681913035416090       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,     01/14/2013   01/14/2013   $175.00           $85.22     $85.22
                                                                                              34830, 78720

71   681913035416040       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,     01/15/2013   01/15/2013   $175.00           $85.22     $85.22
                                                                                              34830, 78720

71   681913035416050       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,     01/16/2013   01/16/2013   $175.00           $85.22     $85.22
                                                                                              34830, 78720

71   681913035416080       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,     01/17/2013   01/17/2013   $175.00           $85.22     $85.22
                                                                                              34830, 78720

71   681913035416070       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,     01/18/2013   01/18/2013   $175.00           $85.22     $85.22
                                                                                              34830, 78720

71   681913028444860       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,     01/19/2013   01/19/2013   $175.00           $85.22     $85.22
                                                                                              34830, 78720

71   681813028153720       001              99999                 MEDICARE PROVIDER   ICD-9   51881,3211,     01/20/2013   01/20/2013   $175.00           $85.22     $85.22
                                                                                              34830, 78720

71   681913028444850       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,     01/21/2013   01/21/2013   $175.00           $85.22     $85.22
                                                                                              34830, 78720

71   681913044357330       001               99999                MEDICARE PROVIDER   ICD-9   34830, V667,    01/22/2013   01/22/2013   $124.00           $59.05     $59.05
                                                                                              72887, 78605

71   681813031259060       001              99999                 MEDICARE PROVIDER   ICD-9   51881,3211,     01/22/2013   01/22/2013   $175.00          $85.22      $85.22
                                                                                              34830, 78720

71   681813031259030       001              99999                 MEDICARE PROVIDER   ICD-9   51881,3211,     01/23/2013   01/23/2013   $175.00          $85.22      $85.22
                                                                                              34830, 78720
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                                                                                                                          01/24/2013   $175.00           $85.22     $85.22
     681813031259040       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,    01/24/2013
71
                                                                                              34830, 78720

                                                                                                                          01/25/2013   $175.00           $85.22     $85.22
                           001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,    01/25/2013
71   681813031259020
                                                                                              34830, 78720

                                                                                                                          01/26/2013   $124.00           $59.05     $59.05
     681813043385490       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,    01/26/2013
71
                                                                                              34830, 78720

                                                                                                             01/27/2013   01/27/2013   $124.00           $59.05     $59.05
71   681813043385460       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,
                                                                                              34830, 78720

                                                                                                                          01/28/2013   $124.00           $59.05     $59.05
71   681813043385450       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,    01/28/2013
                                                                                              34830, 78720

                                                                                                             01/29/2013   01/29/2013   $124.00           $59.05     $59.05
71   681813043385440       001               99999                MEDICARE PROVIDER   ICD-9   51881,3211,
                                                                                              34830, 78720

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71   681813043385480       001              99999                 MEDICARE PROVIDER   ICD-9   51881,3211,
                                                                                              34830, 78720

                                                                                                             01/31/2013   01/31/2013   $124.00          $59.05      $59.05
71   681813043385470       001              99999                 MEDICARE PROVIDER   ICD-9   51881,3211,
                                                                                              34830, 78720                                                                                                                                             co
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                                                                                              51881,3211,    02/01/2013   02/01/2013   $124.00          $59.05      $59.05                                                                             g
71   681913038010420       001              99999                 MEDICARE PROVIDER   ICD-9
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                                                                                              51881,00845,   02/02/2013   02/02/2013   $175.00          $85.22      $85.22
71   681913046118480       001              99999                 MEDICARE PROVIDER   ICD-9                                                                                                                                                            £
                                                                                              3211,34830                                                                                                                                              Pi
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                                                                                                             02/03/2013   02/03/2013   $175.00          $85.22      $85.22
71   681913046118460       001              99999                 MEDICARE PROVIDER   ICD-9   51881,00845,                                                                                                                                           O
                                                                                              3211,34830                                                                                                                                            71*

                                                                                              51881,00845,   02/04/2013   02/04/2013   $175.00          $85.22      $85.22
71   681913046118650       001              99999                 MEDICARE PROVIDER   ICD-9
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     681913046118380



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                                                                  MEDICARE PROVIDER



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                                                                                      ICD-9



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                                                                                              00845,3211,
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     681913046118400       001              99999                 MEDICARE PROVIDER   ICD-9   00845, 3211,   02/07/2013   02/07/2013
71
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                                                                                              34830,51881




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                        CMS                                                                                                                       Coordination of
                       CENTERS FOR MEDICARE & MEDICAID SERVICES
                                                                                                                                             Benefits and Recovery




71   681913046118520       001               99999                MEDICARE PROVIDER   ICD-9   00845,3211,     02/08/2013   02/08/2013   $175.00           $85.22     $85.22
                                                                                              34830,51881

71   681813051205850       001               99999                MEDICARE PROVIDER   ICD-9   00845,3211,     02/09/2013   02/09/2013   $175.00           $85.22     $85.22
                                                                                              34830,51881

71   681913170415580       001               08202                MOUDGAL, VARSHA V   ICD-9   3241,3211,      02/09/2013   02/09/2013   $124.00           $59.05     $59.05
                                                                                              486, 78060

71   681913170415580       002               08202                MOUDGAL, VARSHA V   ICD-9   3241,3211,      02/15/2013   02/15/2013   $124.00           $59.05     $59.05
                                                                                              486, 78060

71   681913053196580       001               99999                MEDICARE PROVIDER   ICD-9   00845, 3211,    02/10/2013   02/10/2013   $124.00           $59.05     $59.05
                                                                                              34830,51881

71   681913053196590       001               99999                MEDICARE PROVIDER   ICD-9   00845, 3211,    02/11/2013   02/11/2013   $124.00           $59.05     $59.05
                                                                                              34830,51881

71   681913053196600       001              99999                 MEDICARE PROVIDER   ICD-9   00845,3211,     02/12/2013   02/12/2013   $124.00           $59.05     $59.05
                                                                                              34830,51881

71   681913053196610       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    02/14/2013   02/14/2013   $175.00           $85.22     $85.22
                                                                                              3211, 8770

71   681813057188920       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    02/15/2013   02/15/2013   $124.00           $59.05     $59.05
                                                                                              3211,8770

71   681813057188930       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    02/16/2013   02/16/2013   $124.00           $59.05     $59.05
                                                                                              3211,8770

71   681813060262530       001               99999                MEDICARE PROVIDER   ICD-9   28860, 00845,   02/17/2013   02/17/2013   $175.00           $85.22     $85.22
                                                                                              3211,51881

71   681813060262540       001              99999                 MEDICARE PROVIDER   ICD-9   28860, 00845,   02/18/2013   02/18/2013   $175.00          $85.22      $85.22
                                                                                              3211,51881

71   681813060262520       001              99999                 MEDICARE PROVIDER   ICD-9   3211,00845,     02/19/2013   02/19/2013   $175.00          $85.22      $85.22
                                                                                              28860, 51881

71   681813060262510       001              99999                 MEDICARE PROVIDER   ICD-9   3211,00845,     02/20/2013   02/20/2013   $175.00          $85.22      $85.22
                                                                                              28860,51881

71   681813060262550       001              99999                 MEDICARE PROVIDER   ICD-9   3211,00845,     02/21/2013   02/21/2013   $175.00          $85.22      $85.22
                                                                                              28860, 51881
                                                                                                                                                                                      Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 23 of 34




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                                                                                                                           02/22/2013   $175.00           $85.22     $85.22
                                                                  MEDICARE PROVIDER   ICD-9   51881,00845,    02/22/2013
71   681813067017860       001               99999
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                                                                                                              02/23/2013   02/23/2013   $175.00           $85.22     $85.22
71   681913060347020       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,
                                                                                              28860, 3211

                                                                                                                           02/24/2013   $175.00           $85.22     $85.22
                                             99999                MEDICARE PROVIDER   ICD-9   51881,00845,    02/24/2013
71   681813067017900       001
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                                                                                                              02/25/2013   02/25/2013   $175.00           $85.22     $85.22
71   681813067017890       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,
                                                                                              3211,8770

                                                                                                              02/25/2013   02/25/2013   $175.00           $85.22     $85.22
71   681813080146730       001               08202                OTTO, MICHAEL       ICD-9   3211,28860,
                                                                                              3241, 78060

                                                                                                                           02/26/2013   $175.00          $85.22      $85.22
71   681813067017870       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,    02/26/2013
                                                                                              3211,8770

                                                                                                                           02/27/2013   $175.00          $85.22      $85.22
71   681813067017880       001               99999                MEDICARE PROVIDER   ICD-9   51881, 00845.   02/27/2013
                                                                                              3211,8770

                                                                                                              02/28/2013   02/28/2013   $175.00          $85.22      $85.22
71   681813067017910       001              99999                 MEDICARE PROVIDER   ICD-9   51881,00845,
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71   681913077463920       001              99999                 MEDICARE PROVIDER   ICD-9   51881,00845,
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71   681913150130740       001              08202                 MOUDGAL, VARSHA V   ICD-9   3211,00845,                                                                                                                                                5
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                                                                                                              03/05/2013   03/05/2013   $175.00          $85.22      $85.22
71   681913150130740       002              08202                 MOUDGAL, VARSHA V   ICD-9   3211,00845,                                                                                                                                              cr

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                                                                                                              03/09/2013   03/09/2013   $175.00              $0.00    $0.00
71   681913150130740       003              08202                 MOUDGAL, VARSHA V   ICD-9   3211,00845,
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     681813080139450



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                                                                  MEDICARE PROVIDER



                                                                  MEDICARE PROVIDER
                                                                                      ICD-9



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                                                                                              51881,00845,
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                                            99999                 MEDICARE PROVIDER   ICD-9   51881,00845,    03/04/2013   03/04/2013   $124.00
71   681813080139490      001
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                       CENTERS FOR MEDICARE & MEDICAID SERVICES
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71   681813119244800       001               08202                MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/04/2013   03/04/2013   $175.00           $85.22     $85.22
                                                                                              51881,5990

71   681813119244800       002               08202                MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/07/2013   03/07/2013   $175.00           $85.22     $85.22
                                                                                              51881,5990

71   681813119244800       003               08202                MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/09/2013   03/09/2013   $124.00           $59.05     $59.05
                                                                                              51881,5990

71   681813119244800       004               08202                MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/11/2013   03/11/2013   $124.00           $59.05     $59.05
                                                                                              51881,5990

71   681813119244800       005               08202                MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/13/2013   03/13/2013   $124.00           $59.05     $59.05
                                                                                              51881,5990

71   681813119244800       006               08202                MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/14/2013   03/14/2013   $124.00           $59.05     $59.05
                                                                                              51881,5990

71   681813119244800       007               08202                MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/15/2013   03/15/2013   $124.00           $59.05     $59.05
                                                                                              51881,5990

71   681813119244800       008               08202                MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/18/2013   03/18/2013   $175.00           $85.22     $85.22
                                                                                              51881,5990

71   681813119244800       009              08202                 MOUDGAL, VARSHA V   ICD-9   3211,3241,     03/22/2013   03/22/2013   $175.00           $85.22     $85.22
                                                                                              51881,5990

71   681813080139500       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   03/05/2013   03/05/2013   $124.00           $59.05     $59.05
                                                                                              3211,8770

71   681813080139470       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   03/06/2013   03/06/2013   $124.00           $59.05     $59.05
                                                                                              3211,8770

71   681813080139460       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   03/07/2013   03/07/2013   $124.00           $59.05     $59.05
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71   681813080139480       001               99999                MEDICARE PROVIDER   ICD-9   51881,00845,   03/08/2013   03/08/2013   $124.00          $59.05      $59.05
                                                                                              3211,8770

71   681913115341690       001              08202                 FRANKO, ALEXANDER   ICD-9   51881,2769,    03/09/2013   03/09/2013   $175.00          $85.22      $85.22
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                       CENTERS FOR MEDICARE & MEDICAID SERVICES




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                                             08202                                    ICD-9   51881, 00845 ,   03/10/2013
71   681913115341670       001                                    FRANKO, ALEXANDER
                                                                  P                           2769, 3211,
                                                                                              7904, 8770

                                                                                                                            03/11/2013   $175.00           $85.22     $85.22
                                             08202                FRANKO, ALEXANDER   ICD-9   51881,00845,     03/11/2013
71   681913115341640       001
                                                                  P                           2769, 3211,
                                                                                              7904, 8770

                                                                                                                            03/12/2013   $175.00           $85.22     $85.22
                                             08202                FRANKO, ALEXANDER   ICD-9   51881,00845,     03/12/2013
71   681913115341660       001
                                                                  P                           2769, 3211,
                                                                                              7904, 8770

                                                                                                               03/13/2013   03/13/2013   $175.00           $85.22     $85.22
71   681813101205030       001               08202                FRANKO, ALEXANDER   ICD-9   51881,00845,
                                                                  P                           262, 2859,
                                                                                              72887, 8770

                                                                                                               03/14/2013   03/14/2013   $175.00           $85.22     $85.22
71   681813101205040       001               08202                FRANKO, ALEXANDER   ICD-9   51881,0463,

                                                                  P                           262, 2859,
                                                                                              28860, 72887,
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                                                                                                               03/15/2013   03/15/2013   $175.00           $85.22     $85.22
71   681813101205020       001              08202                 FRANKO, ALEXANDER   ICD-9   51881,0463,
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71   681813134103570       001              08202                 SESTAK, DANIEL      ICD-9   51881,00845,                                                                                                                                             co

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                                                                                              51884, 3211      03/17/2013   03/17/2013   $169.15           $85.22     $85.22
71   681913088672350       001              08202                 MCCABE, VITA V      ICD-9

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71   681813134103560       001              08202                 SESTAK, DANIEL      ICD-9   51881,00845,
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71   681813134103450       001              08202                 SESTAK, DANIEL      ICD-9
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                        CMS                                                                                                                       Coordination of
                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                             Benefits and Recovery




71   681813134103500       001               08202                SESTAK, DANIEL      ICD-9   51881,00845,   03/19/2013   03/19/2013   $175.00           $85.22     $85.22
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                                                                                              7904, 8770

71   681813134103510       001               08202                SESTAK, DANIEL      ICD-9   51881,00845,   03/20/2013   03/20/2013   $175.00           $85.22     $85.22
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71   681813134103480       001               08202                SESTAK, DANIEL      ICD-9   51881,00845,   03/21/2013   03/21/2013   $175.00           $85.22     $85.22
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                                                                                              7904, 8770

71   681813134103470       001              08202                 SESTAK, DANIEL      ICD-9   51881,00845,   03/22/2013   03/22/2013   $175.00           $85.22     $85.22
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770

71   681813119244770       001              08202                 OTTO, MICHAEL       ICD-9   3211, 3241,    03/26/2013   03/26/2013   $175.00          $85.22      $85.22
                                                                                              8770

71   681813101205190       001              08202                 UPPALA, PHANIBINB   ICD-9   51881,00845,   03/28/2013   03/28/2013   $124.00          $59.05      $59.05
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770

71   681813101205180       001              08202                 UPPALA, PHANIBINB   ICD-9   51881,00845,   03/29/2013   03/29/2013   $124.00          $59.05      $59.05
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770

71   681813134103490       001              08202                 SESTAK, DANIEL      ICD-9   51881,00845,   03/30/2013   03/30/2013   $124.00          $59.05      $59.05
                                                                                              262, 2769,
                                                                                              2859, 3211,
                                                                                              7904, 8770

71   681813134103550       001              08202                 SESTAK, DANIEL      ICD-9   51881,00845,   03/31/2013   03/31/2013   $124.00          $59.05      $59.05
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                                                                  SESTAK, DANIEL       ICD-9   51881,00845,   04/01/2013
71   681813134103520       001               08202
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                                                                                               7904, 8770

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                           001               08202                SESTAK, DANIEL       ICD-9   51881,00845,
71   681813134103540
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                                                                                                                           04/03/2013   $299.00           $68.12     $68.12
                                                                  KASOTAKIS, MICHAEL   ICD-9   1179           04/03/2013
71   681813099521490       001               08202
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                                                                                                              04/03/2013   04/03/2013    $87.00           $24.90     $24.90
     681813099521490       002               08202                KASOTAKIS, MICHAEL   ICD-9   1179
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                                             08202                KASOTAKIS, MICHAEL   ICD-9   1179           04/03/2013
71   681813099521490       003
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                                             08202                SESTAK, DANIEL       ICD-9   51881,00845,   04/03/2013
71   681813134103530       001
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71   681813134103440       001
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71   681813134103460       001              08202                 SESTAK, DANIEL
                                                                                               262, 2769,
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     681913106359610




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                                                                  KLIMOVA, IRINA V




                                                                  KLIMOVA, IRINA V     ICD-9
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                                                                                               7904, 8770

                                                                                               51881,00845,
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                                                                                                              04/07/2013   04/07/2013   $124.00          $57.87      $57.87
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                                                                                               2859, 3211,
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                        CMS                                                                                                                          Coordination of
                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                Benefits and Recovery




71   681913106359620       001               08202                KLIMOVA, IRINA V      ICD-9   51881,00845,    04/08/2013   04/08/2013   $124.00           $57.87      $57.87
                                                                                                262, 2769,
                                                                                                2859, 3211,
                                                                                                7904, 8770

71   681813109225730       001               08202                KLIMOVA, IRINA V      ICD-9   51881,00845,    04/09/2013   04/09/2013   $124.00          $57.87       $57.87
                                                                                                262, 2769,
                                                                                                2859, 3211,
                                                                                                7904, 8770

71   681813112739750       001              08202                 GROSS, STEVEN N       ICD-9   1179            04/09/2013   04/09/2013   $200.00          $83.52       $83.52

71   681813109225750       001              08202                 KLIMOVA, IRINA V      ICD-9   51881,00845,    04/10/2013   04/10/2013   $124.00          $57.87       $57.87
                                                                                                262, 2769,
                                                                                                2859, 3211,
                                                                                                7904, 8770

71   681813109225770       001              08202                 KLIMOVA, IRINA V      ICD-9   51881,00845,    04/11/2013   04/11/2013   $124.00          $57.87       $57.87
                                                                                                262, 2769,
                                                                                                2859, 3211,
                                                                                                7904, 8770

71   681813109225740       001              08202                 KLIMOVA, IRINA V      ICD-9   51881,00845,    04/12/2013   04/12/2013   $179.00          $86.32       $86.32
                                                                                                2769, 3211,
                                                                                                7904, 8770

71   681813182263550       001              08202                 SIDDIQUI HAMZAVI, J   ICD-9   51881,2859,     04/15/2013   04/15/2013   $195.00         $136.57      $136.57
                                                                                                28860, 29420

71   681813116569610       001              08202                 STRICKLER, MARC L     ICD-9   1179            04/16/2013   04/16/2013   $200.00         $108.40      $108.40

71   681813182263610       001              08202                 SIDDIQUI HAMZAVI, J   ICD-9   28860, 2639,    04/17/2013   04/17/2013   $150.00          $72.86       $72.86
                                                                                                29420

71   681813135596290      001               08202                 STRICKLER, MARC L     ICD-9   1179            05/05/2013   05/05/2013   $125.00          $55.75       $55.75

71   681913154591480      001               08202                 KACHMAN, ALICE M      ICD-9   1 179, 00845,   05/09/2013   05/09/2013   $230.00        $109.03       $109.03
                                                                                                2639, 28529,
                                                                                                29420, 3241,
                                                                                                4011,78720,
                                                                                                7993

71   681813234129200      001               08202                 MOUDGAL, VARSHA V     ICD-9   1 179, E9320,   05/09/2013   05/09/2013   $231.00        $117.50       $117.50
                                                                                                3211,3241
                                                                                                                                                                                         Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 29 of 34




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                        CMS                                                                                                                  Benefits and Recovery
                       CENTERS FOR MEDICARE & MEDICAID SERVICES




                                                                                                                           05/14/2013   $140.00           $72.86     $72.86
                                                                  KACHMAN, ALICE M    ICD-9   1179, V4611,    05/14/2013
71   681913154591970       001               08202
                                                                                              00845, 2630,
                                                                                              28529, 29420,
                                                                                              3241,4011,
                                                                                              486,51884,
                                                                                              78720, 7993

                                                                                                                           05/21/2013   $140.00           $72.86     $72.86
                                                                  MEKAI VEKIMA,       ICD-9   1179, 00845,    05/21/2013
71   681813156789280       001               08202
                                                                  MARGARET B                  2630, 28529,
                                                                                              29420, 3241,
                                                                                              486, 78720,
                                                                                              7993

                                                                                                              05/23/2013   05/23/2013   $140.00           $72.86     $72.86
                           001               08202                KACHMAN, ALICE M    ICD-9   1179, 00845,
71   681913162273640
                                                                                              2630, 29420,
                                                                                              4011,486,
                                                                                              78720, 7993

                                                                                                                           05/28/2013   $125.00           $55.75     $55.75
                                                                  STRICKLER, MARC L   ICD-9   1179            05/28/2013
71   681813161645510       001               08202

                                                                                                                           05/29/2013   $140.00           $72.86     $72.86
                                             08202                KACHMAN, ALICE M    ICD-9   3211, V4611,    05/29/2013
71   681913164126060       001
                                                                                              2630, 28529,                                                                                                                                                   CO
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                                                                                              29420, 3241,
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                                                                                              4011,51884,
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                                                                                              78720                                                                                                                                                          o



                                                                                                              06/04/2013   06/04/2013   $140.00           $72.86     $72.86                                                                                  5
71   681813165745320       001               08202                MEKAI VEKIMA,       ICD-9   3211, V4611,
                                                                  MARGARET B                  2630, 28529,
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                                                                                              29420, 3241,
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                                                                                                                                                                                                                                                             Jf
                                                                                              4011,51884,
                                                                                              78720

                                                                                                              06/07/2013   06/07/2013   $140.00           $72.86     $72.86
     681813169792970       001               08202                KACHMAN, ALICE M    ICD-9   3211, V4611,
71
                                                                                              00845, 28529,




71

71
     681813170454770

     681913175453640
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                           001
                                            08202

                                            08202
                                                                  STRICKLER, MARC L

                                                                  MEKAI VEKIMA,
                                                                                      ICD-9

                                                                                      ICD-9
                                                                                              29420, 3241,
                                                                                              4011,51884

                                                                                              1179

                                                                                              51881, V4611,
                                                                                                              06/11/2013

                                                                                                              06/11/2013
                                                                                                                           06/11/2013

                                                                                                                           06/11/2013
                                                                                                                                        $125.00

                                                                                                                                        $140.00
                                                                                                                                                          $55.75

                                                                                                                                                          $72.86
                                                                                                                                                                     $55.75

                                                                                                                                                                     $72.86
                                                                                                                                                                               4U20176 8093
                                                                  MARGARET B                  00845, 2630,
                                                                                                                                                                                       Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 30 of 34




                                                                                              28529, 29420,
                                                                                              3211,3241


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                       CENTERS FOR MEDICARE & MEDICAID 5ERVICES                                                                              Benefits and Recovery




71   681913171329730       001               08202                MOUDGAL, VARSHA V   ICD-9   3241,3211       06/13/2013   06/13/2013   $231.00         $117.50      $117.50

71   681913175454460       001               08202                KACHMAN, ALICE M    ICD-9   51881, V4611,   06/13/2013   06/13/2013   $230.00         $109.03      $109.03
                                                                                              00845, 2630,
                                                                                              28529, 29420,
                                                                                              3211,3241

71   681913183207710       001              08202                 MEKAI VEKIMA,       ICD-9   1 179, 00845,   06/18/2013   06/18/2013   $140.00          $72.86       $72.86
                                                                  MARGARET B                  29420, 3241,
                                                                                              78720

71   681913178082600       001              08202                 KACHMAN, ALICE M    ICD-9   1 179, 00845,   06/20/2013   06/20/2013   $140.00          $72.86       $72.86
                                                                                              29420, 3241,
                                                                                              78720

71   681813191424720       001              08202                 MEKAI VEKIMA,       ICD-9   1179, 00845,    06/25/2013   06/25/2013   $140.00          $72.86       $72.86
                                                                  MARGARET B                  29420, 3241,
                                                                                              78720

71   681813189410130       001              08202                 STRICKLER, MARC L   ICD-9   1179            06/27/2013   06/27/2013   $150.00          $72.86       $72.86

71   681913193328650       001              08202                 KACHMAN, ALICE M    ICD-9   1 179, V462,    06/28/2013   06/28/2013   $140.00          $72.86       $72.86
                                                                                              00845, 29420,
                                                                                              3241,78720

71   681913205156370       001              08202                 MEKAI VEKIMA,       ICD-9   51881, V462,    07/02/2013   07/02/2013   $230.00        $109.03       $109.03
                                                                  MARGARET B                  00845, 1 179,
                                                                                              29420, 3241,
                                                                                              78720, 79902

71   681913210204670      001               08202                 MEKAI VEKIMA,       ICD-9   51881, V462,    07/09/2013   07/09/2013   $140.00          $72.86      $72.86
                                                                  MARGARET B                  00845, 1179,
                                                                                              29420, 3241,
                                                                                              78720, 79902

71   681913213144480      001               08202                 KACHMAN, ALICE M    ICD-9   3211, V4611,    07/17/2013   07/17/2013   $140.00          $72.86      $72.86
                                                                                              00845,3241,
                                                                                              51884

71   681813210627040      001              08202                  STRICKLER, MARC L   ICD-9   1179            07/21/2013   07/21/2013   $125.00          $55.75      $55.75

71   681913224070020      001              08202                  KACHMAN, ALICE M    ICD-9   00845, V4611,   07/22/2013   07/22/2013   $140.00          $72.86      $72.86
                                                                                              3211,3241,
                                                                                              51884, 78720
                                                                                                                                                                                       Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 31 of 34




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                        CMS                                                                                                                     Benefits and Recovery
                       CENTERS FOR MEDICARE & MEDICAID SERVICES




                                                                                                                            07/25/2013    $231.00          $117.50      $117.50
                                                                  MOUDGAL, VARSHA V    ICD-9   1 179, E9320,   07/25/2013
71   681813220140220       001               08202
                                                                                               3211,3241

                                                                                                                            07/28/2013    $333.00          $164.83      $164.83
                                                                  MALANI, ANURAG N     ICD-9   28860, E8751    07/28/2013
71   681813228115590       001               08202
                                                                                               00845, 3211

                                                                                                                            07/29/2013    $124.00            $57.87      $57.87
                                                                  ENGERS, DREW         ICD-9   28860, E8751,   07/29/2013
71   681813220134370       001               08202
                                                                                               00845, 3241

                                                                                                                            07/30/2013    $175.00            $83.52      $83.52
                                             08202                NOUREDDINE, WASSIM   ICD-9   28860, E8751,   07/30/2013
71   681813220134360       001
                                                                                               00845, 3241

                                                                                                                            07/31/2013    $124.00            $57.87      $57.87
                                             08202                NOUREDDINE, WASSIM   ICD-9   28860, E8751,   07/31/2013
71   681813219156530       001
                                                                                               00845, 3241

                                                                                                                            08/01/2013    $175.00            $83.52      $83.52
                                                                  KENKRE, CHAYA        ICD-9   28860, E8751,   08/01/2013
71   681813220134380       001               08202
                                                                                               00845, 3241

                                                                                                               08/01/2013   08/01/2013    $140.00            $57.87      $57.87
71   681813241043010       001               08202                CUCCHI, ANTHONY P    ICD-9   3229

                                                                                                                            08/02/2013    $124.00            $57.87      $57.87
     681813221118100                         08202                KENKRE, CHAYA        ICD-9   28860, E8751,   08/02/2013
71                         001
                                                                                               00845, 3241

                                                                                                                            08/03/2013    $124.00           $57.87       $57.87                                                                               co
     681913221218300       001              08202                 KENKRE, CHAYA        ICD-9   28860, E8751    08/03/2013                                                                                                                                     g
71
                                                                                               00845, 3241                                                                                                                                                   g

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                                                                                                               08/04/2013   08/04/2013    $124.00           $57.87       $57.87                                                                               o
71   681813225176780       001              08202                 KENKRE, CHAYA        ICD-9   28860, E8751,
                                                                                               00845, 3241                                                                                                                                                    5
                                                                                                                                                                                                                                                              oj

                                                                                                               08/05/2013   08/05/2013    $124.00           $57.87       $57.87
71   681813227203100       001              08202                 KENKRE, CHAYA        ICD-9   28860, E8751,                                                                                                                                                 o
                                                                                                                                                                                                                                                            CM
                                                                                               00845, 3241                                                                                                                                                 >


                                                                                                               08/05/2013   08/05/2013   $1,300.00         $117.07      $117.07
71   681813228773590       001              08202                 DEMEESTER, JAMES S   ICD-9   3211, V8739

                                                                                                               08/05/2013   08/05/2013    $630.00          $117.07      $117.07
71   681813310725490       001              08202                 SHEFFIELD, JASON D   ICD-9   3211, V8739

                                                                                                                                                            $86.32       $86.32
71



71
     681813227203090



     681913233054760
                           001



                           001
                                            08202



                                            08202
                                                                  KENKRE, CHAYA



                                                                  KACHMAN, ALICE M
                                                                                       ICD-9



                                                                                       ICD-9
                                                                                               28860, E8751,
                                                                                               00845, 3241

                                                                                               00845, V4611,
                                                                                               3211,3241,
                                                                                               51884, 78720
                                                                                                               08/06/2013



                                                                                                               08/07/2013
                                                                                                                            08/06/2013



                                                                                                                            08/07/2013
                                                                                                                                          $179.00



                                                                                                                                          $270.00          $136.57      $136.57
                                                                                                                                                                                   4V20176 8093
                                                                                               99592,24981,    08/12/2013   08/12/2013    $333.00          $164.83      $164.83
                                                                  REZAZADEGAN,         ICD-9
                                                                                                                                                                                            Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 32 of 34




71   681913231306330       001              08202
                                                                  MALIHE                       486,78791



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                       CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                             Benefits and Recovery




71   681813234129190       001               08202                MOUDGAL, VARSHA V   ICD-9   486, E8751,    08/12/2013   08/12/2013   $333.00         $164.83      $164.83
                                                                                              3241

71   681813234129190       002               08202                MOUDGAL, VARSHA V   ICD-9   486, E8751,    08/13/2013   08/13/2013   $124.00           $57.87      $57.87
                                                                                              3241

71   681813241141020       001               08202                MOUDGAL, VARSHA V   ICD-9   486, E8751,    08/14/2013   08/14/2013   $124.00           $57.87      $57.87
                                                                                              3211,3241

71   681813241141030       001               08202                MOUDGAL, VARSHA V   ICD-9   486, E8751,    08/15/2013   08/15/2013   $124.00           $57.87      $57.87
                                                                                              3211,3241

71   681813252139980       001              08202                 GUPTA, ABHA         ICD-9   486, 3211,     08/15/2013   08/15/2013   $124.00           $57.87      $57.87
                                                                                              70724, 78791

71   681813252139960       001              08202                 GUPTA, ABHA         ICD-9   486, E8751,    08/16/2013   08/16/2013   $124.00           $57.87      $57.87
                                                                                              3211,3241

71   681913263215570       001              08202                 MOUDGAL, VARSHA V   ICD-9   486, E8751,    08/16/2013   08/16/2013   $124.00          $57.87       $57.87
                                                                                              3211,3241

71   681913246552180       001              08202                 FAMAKINWA, TITILOLA ICD-9   486, E8751,    08/17/2013   08/17/2013   $179.00          $86.32       $86.32
                                                                  A                           3211,3241

71   681813247681490       001              08202                 QUEST DIAGNOSTICS   ICD-9   1369           08/20/2013   08/20/2013    $34.32            $3.64       $3.64
                                                                  INCORP MI

71   681813247681490       002              08202                 QUEST DIAGNOSTICS   ICD-9   1369           08/20/2013   08/20/2013    $19.76            $2.94       $2.94
                                                                  INCORP MI

71   681813247681490       003              08202                 QUEST DIAGNOSTICS   ICD-9   1369           08/20/2013   08/20/2013    $40.56          $10.47       $10.47
                                                                  INCORP MI

71   681813247681490       004              08202                 QUEST DIAGNOSTICS   ICD-9   1369           08/20/2013   08/20/2013    $62.39          $14.02       $14.02
                                                                  INCORP MI

71   681813247681500       001              08202                 QUEST DIAGNOSTICS   ICD-9   1369           08/20/2013   08/20/2013    $69.68            $6.97       $6.97
                                                                  INCORP MI

71   681913263215560       001              08202                 MOUDGAL, VARSHA V   ICD-9   1179, E9320,   09/12/2013   09/12/2013   $231.00         $117.50      $117.50
                                                                                              3211,3241

71   681813365166370       001              08202                 MOUDGAL, VARSHA V   ICD-9   3241, E9320,   12/05/2013   12/05/2013   $231.00         $117.50      $117.50
                                                                                              1179, 3211
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                       CENTERS FOR MEDICARE & MEDICAID SERVICES




                                                                                                                  01/17/2014   01/17/2014      $229.00         $138.80      $138.80
71   681914024162720       001               08202                STANDIFORD,           ICD-9      7862, V440,

                                                                  THEODORE J                       1179, 3211

                                                                                                                               03/27/2014      $159.00           $86.92      $86.92
                                             08202                MOUDGAL, VARSHA V    ICD-9       1179, E9320,   03/27/2014
71   681814099098410       001
                                                                                                   3211,3241

                                                                                                                  10/23/2014   10/23/2014      $339.00           $95.38      $95.38
71   681814304462740       001               08202                GOLOVOY, DAVID       ICD-9       7242

                                                                                                                  08/27/2015   08/27/2015      $113.00           $54.81      $54.81
71   681815309385320       001               08202                ANAN, THOMAS J       ICD-9       7993, 29411,
                                                                                                   53081,73018

                                                                                                                  09/04/2015   09/04/2015      $113.00           $54.81      $54.81
71   681816046674390       001               08202                ANAN, THOMAS J       ICD-9       7993, 29411,
                                                                                                   71509, 73018

                                                                                                                               07/13/2016       $18.00              $4.23     $4.23
     681816203335870       001              08202                 US LAB & RADIOLOGY   ICD- 1 0    R4182          07/13/2016
71
                                                                  INC

                                                                                                                  07/13/2016   07/13/2016       $27.00           $10.78      $10.78
71   681816203335870       002              08202                 US LAB & RADIOLOGY   ICD- 1 0    R4182

                                                                  INC

                                                                                                                  07/13/2016   07/13/2016       $27.00           $10.81      $10.81
71   681816203335870       003               08202                US LAB & RADIOLOGY   ICD- 1 0    R4182
                                                                  INC

                                                                                                                  07/22/2016   07/22/2016       $18.00              $4.23     $4.23                                                                          CO
71   681916211195900       001              08202                 US LAB & RADIOLOGY   ICD- 1 0    R4182, R509                                                                                                                                               g

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                                                                                                                  07/22/2016   07/22/2016       $27.00          $10.78       $10.78
                           002              08202                 US LAB & RADIOLOGY   ICD- 1 0    R4182, R509                                                                                                                                               o
71   681916211195900
                                                                  INC                                                                                                                                                                                       5
                                                                                                                                                $27.00          $10.81      $10.81                                                                           £
                                            08202                 US LAB & RADIOLOGY   ICD- 1 0    R4182, R509    07/22/2016   07/22/2016
71   681916211195900       003                                                                                                                                                                                                                              5
                                                                                                                                                                                                                                                            CM
                                                                  INC
                                                                                                                                                                                                                                                           CO

                                                                                                                  07/22/2016   07/22/2016      $23.30           $11.54      $11.54
71   681916211195900       004              08202                 US LAB & RADIOLOGY   ICD- 1 0    R4182, R509
                                                                  INC

                                                                                   Sum of Total Charges:                       $1,292,725.01

                                                                                   Total Conditional Charges:                  $367,828.72
                                                                                                                                                                                       812076 8093
                                                                                                                                                                                               Case 1:13-md-02419-RWZ Document 3583-7 Filed 06/11/22 Page 34 of 34




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